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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                   Debtors.1                           (Jointly Administered)

                                                          Objections Due: November 22, 2023 at 4:00 P.M. (ET)
                                                                    Hearing Date: To be scheduled if necessary

     NOTICE OF FIRST MONTHLY FEE APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
      AS COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR THE
            PERIOD FROM AUGUST 9, 2023 THROUGH AUGUST 31, 2023

         PLEASE TAKE NOTICE that on November 1, 2023, Pachulski Stang Ziehl & Jones

LLP, counsel for the above-captioned debtors and debtors in possession (the “Debtors”), filed its

First Monthly Application for Compensation and Reimbursement of Expenses of Pachulski Stang

Ziehl & Jones LLP, as Counsel for the Debtors and Debtors in Possession for the Period of August

1, 2023 through August 31, 2023 (the “Application”), seeking compensation for the reasonable

and necessary services rendered to the Debtors in the amount of $1,275,515.75 and reimbursement

for actual and necessary expenses in the amount of $10,533.41. A copy of the Application is

attached hereto.

         PLEASE TAKE FURTHER NOTICE that any response or objection to the Application,

if any, must be made in writing and filed with the United States Bankruptcy Court for the District

of Delaware, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Court”) on

or before November 22, 2023 at 4:00 p.m. Eastern Time.


1
         A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
         Debtors’ proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor
         Amyris Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 5885
         Hollis Street, Suite 100, Emeryville, CA 94608.



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          The Application is submitted pursuant to the Order Establishing Procedures for Interim

Compensation and Reimbursement of Professionals, entered on September 14, 2023 [Docket No.

279] (the “Administrative Order”).

          PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve a copy

of the response or objection upon: (i) the Debtor: Amyris, Inc., 5885 Hollis Street, Suite 100,

Emeryville, CA 94608 (ii) counsel to the Debtors, Pachulski Stang Ziehl & Jones LLP, 919 North

Market Street, 17th Floor, Wilmington, DE 19899, Attn: James E. O’Neill (joneill@pszjlaw.com)

and Jason H. Rosell (jrosell@pszjlaw.com); (iii) the Office of the United States Trustee for the

District of Delaware, 844 King Street, Suite 2207, Wilmington, DE 19801, Attn: John Schanne

(john.schanne@usdoj.gov); (iv) counsel to the Official Committee of Unsecured Creditors, White

& Case LLP, Attn: John Ramirez (john.ramirez@whitecase.com) and Stephen E. Ludovici

(stephen.ludovici@whitecase.com); (v) counsel for the DIP Agent, DIP Lender, and Prepetition

Agent, (a) Troutman Pepper Hamilton Sanders LLP, Hercules Plaza, Suite 5100, 1313 N. Market

Street,    P.O.     Box      1709,   Wilmington,    DE    19899,   Attn:   David   M.        Fournier

(david.fournier@troutman.com) and Kenneth A. Listwak (ken.listwak@troutman.com), and (b)

Goodwin Procter LLP, The New York Times Building, 620 Eighth Avenue, New York, NY 10018,

Attn:     Michael      H.    Goldstein   (mgoldstein@goodwinlaw.com),      Alexander    J.     Nicas

(anicas@goodwinlaw.com), Artem Skorostensky (askorostensky@goodwinlaw.com), and Sari

Rosenfeld (srosenfeld@goodwinlaw.com); and (vi) any party that has requested notice pursuant

to Bankruptcy Rule 2002.

          PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS ARE FILED AND

SERVED IN ACCORDANCE WITH THE ABOVE PROCEDURES, THEN 80% OF FEES AND

100% OF EXPENSES REQUESTED IN THE APPLICATION MAY BE PAID PURSUANT TO



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THE ADMINISTRATIVE ORDER WITHOUT FURTHER HEARING OR ORDER OF THE

COURT.

        IF A TIMELY OBJECTION IS FILED AND SERVED, A HEARING ON THE

APPLICATION WILL BE HELD AT A DATE AND TIME TO BE DETERMINED.

 Dated: November 1, 2023                     PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/ James E. O’Neill
                                             Richard M. Pachulski (admitted pro hac vice)
                                             Debra I. Grassgreen (admitted pro hac vice)
                                             James E. O’Neill (DE Bar No. 4042)
                                             Jason H. Rosell (admitted pro hac vice)
                                             Steven W. Golden (DE Bar No. 6807)
                                             919 N. Market Street, 17th Floor
                                             P.O. Box 8705
                                             Wilmington, DE 19899-8705 (Courier 19801)
                                             Telephone: (302) 652-4100
                                             Facsimile: (302) 652-4400
                                             Email: rpachulski@pszjlaw.com
                                                     dgrassgreen@pszjlaw.com
                                                     joneill@pszjlaw.com
                                                     jrosell@pszjlaw.com
                                                     sgolden@pszjlaw.com

                                             Counsel to the Debtors and Debtors in Possession




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

AMYRIS, INC., et al.,                                                    Case No. 23-11131 (TMH)

                                     Debtors.1                           (Jointly Administered)

                                                            Objections Due: November 22, 2023 at 4:00 P.M. (ET)
                                                                      Hearing Date: To be scheduled if necessary

         FIRST MONTHLY FEE APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
     AS COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR THE
            PERIOD FROM AUGUST 9, 2023 THROUGH AUGUST 31, 2023

    Name of Applicant:                                     Pachulski Stang Ziehl & Jones LLP
    Authorized to Provide Professional Services
                                                           Debtors and Debtors in Possession
    to:
                                                           Effective as of August 9, 2023 by order signed
    Date of Retention:
                                                           September 11, 2023
    Period for which Compensation and
                                                           August 1, 2023 through August 31, 20232
    Reimbursement is Sought:
    Amount of Compensation Sought as Actual,
                                                           $1,275,515.75
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought
                                                           $10,533.41
    as Actual, Reasonable and Necessary:

This is a:         ☒monthly          ☐ interim         ☐final application.

          The total time expended for fee application preparation is approximately 3.0 hours and

the corresponding compensation requested is approximately $2,500.00.




1
     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
     principal place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street,
     Suite 100, Emeryville, CA 94608.
2
     The applicant reserves the right to include any time expended in the time period indicated above in future
     application(s) if it is not included herein.


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                               PRIOR APPLICATIONS FILED


   Date          Period Covered      Requested        Requested      Approved       Approved
   Filed                               Fees           Expenses         Fees         Expenses

No prior Applications have been filed.



                                   PSZJ PROFESSIONALS


                                 Position of the         Hourly
                                                                      Total
  Name of Professional        Applicant, Year of      Billing Rate                 Total
                                                                      Hours
      Individual             Obtaining License to      (including               Compensation
                                                                      Billed
                                    Practice            Changes)
 Richard M. Pachulski        Partner, 1979             $1,895.00     111.30     $210,913.50
 Alan J. Kornfeld            Partner, 1987             $1,675.00      11.80     $ 19,765.00
 David J. Barton             Partner, 1981             $1,645.00       2.30     $ 3,783.50
 Debra I. Grassgreen         Partner, 1992             $1,550.00     115.40     $178,870.00
 Henry C. Kevane             Partner, 1986             $1,550.00      94.30     $146,165.00
 Richard J. Gruber           Counsel, 1982             $1,525.00      23.80     $ 36,295.00
 Judith Elkin                Counsel, 1982             $1,450.00      34.30     $ 49,735.00
 Maxim B. Litvak             Partner, 1997             $1,445.00      36.60     $ 52,887.00
 Malhar S. Pagay             Partner, 1997             $1,295.00      10.70     $ 13,856.50
 James E. O'Neill            Partner, 1985             $1,275.00     135.50     $172,762.50
 Jonathan J. Kim             Counsel, 1996             $1,175.00      26.70     $ 31,372.50
 Victoria A. Newmark         Counsel, 1996             $1,175.00      13.50     $ 15,862.50
 Robert M. Saunders          Counsel, 1984             $1,095.00       8.90     $ 9,745.50
 Tavi C. Flanagan            Counsel, 1993             $1,075.00       3.50     $ 3,762.50
 Gina F. Brandt              Counsel, 1976             $1,050.00       0.60     $    630.00
 Jason H. Rosell             Partner, 2010               $995.00     134.30     $133,628.50
 Gillian N. Brown            Counsel, 1999               $975.00      13.40     $ 13,065.00
 Richard M. Pachulski        Partner, 1979               $947.50       5.30     $ 5,021.75
 Steven W. Golden            Partner, 2015               $895.00     126.80     $113,486.00
 Debra I. Grassgreen         Partner, 1992               $775.00       4.00     $ 3,100.00
 Edward A. Corma             Associate, 2018             $725.00      43.60     $ 31,610.00
 Leslie A. Forrester         Library                     $595.00       2.70     $ 1,606.50
 Patricia J. Jeffries        Paralegal                   $545.00      40.80     $ 22,236.00
 Ian D. Densmore             Paralegal                   $545.00       6.60     $ 3,597.00
 Beth D. Dassa               Paralegal                   $545.00       0.20      $   109.00


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                                 Position of the         Hourly
                                                                      Total
  Name of Professional        Applicant, Year of      Billing Rate                 Total
                                                                      Hours
      Individual             Obtaining License to      (including               Compensation
                                                                      Billed
                                    Practice            Changes)
 Cheryl A. Knotts            Paralegal                   $495.00       0.50     $ 247.50
 Andrea R. Paul              Case Mgmt. Assistant         425.00       3.10     $ 1,317.50
 Charles J. Bouzoukis        Case Mgmt. Assistant        $425.00        .20     $    85.00

                                   Grand Total: $1,275,515.75
                                   Total Hours:      1,010.70
                                   Blended Rate:    $1,262.01



                              COMPENSATION BY CATEGORY

                   Project Categories                  Total Hours        Total Fees
 Asset Analysis and Recovery                                17.60         $ 22,324.00
 Asset Disposition                                          61.70         $ 73,972.50
 Bankruptcy Litigation                                      35.60         $ 40,599.00
 Business Operations                                        32.70         $ 36,630.50
 Case Administration                                        66.40         $ 78,097.00
 Claims Administration and Objections                        4.70         $ 4,309.00
 Contract and Lease Matters                                206.30         $264,603.50
 Corporate Governance                                       33.90         $ 51,960.50
 Employee Benefits/Pensions and KEIP/KERP                   26.10         $ 34,353.50
 Financial Filings                                           7.40         $ 7,677.00
 Financing/Cash Collateral/Cash Management                 116.80         $174,338.00
 First/Second Day Matters                                  123.80         $134,918.50
 General Creditors' Committee                               12.80         $ 15,977.00
 Hearings                                                   23.30         $ 33,001.00
 Insurance Issues                                            3.30         $ 3,603.50
 Litigation (Non-Bankruptcy)                                 4.50         $ 4,562.50
 Meetings of and Communications with Creditors               3.00         $ 3,022.00
 Non-Working Travel                                          9.30         $ 8,121.75
 Other Professional Compensation                            31.20         $ 34,920.50
 Other Professional Retention                               71.80         $ 80,168.50
 Plan and Disclosure Statement                             105.70         $154,356.00
 PSZJ Retention                                              7.50         $ 8,988.50
 Stay Litigation                                             5.30         $ 5,011.50
 Totals                                                  1,010.70       $1,275,515.75



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                                             EXPENSE SUMMARY


                                                                  Service Provider3                    Total
                Expense Category
                                                                    (if applicable)                   Expenses
    Air Fare                                            United                                       $1,800.00
    Attorney Service                                    Nationwide Legal                             $ 304.20
    Auto Travel Expense                                 KLS Transportation                           $ 664.23
    Bloomberg                                                                                        $ 170.80
    Conference Call                                     AT&T                                         $    3.67
    Court Fees                                          USDC DE                                      $5,339.00
    Delivery/Courier Service                            Advita                                       $ 30.00
    Hotel Expense                                                                                    $ 430.00
    Lexis/Nexis- Legal Research                                                                      $ 195.16
    Litigation Support Vendors                          Specialized Legal                            $ 391.00
    Pacer - Court Research                                                                           $ 37.20
    Reproduction Expense - @0.10 per page                                                            $ 641.80
    Transcript                                          Reliable                                     $ 526.35
    Total                                                                                            $10,533.41




3
     PSZJ may use one or more service providers. The service providers identified herein below are the primary service
     providers for the categories described.

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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                    Debtors.1                           (Jointly Administered)

                                                           Objections Due: November , 2023 at 4:00 P.M. (ET)
                                                                     Hearing Date: To be scheduled if necessary

         FIRST MONTHLY FEE APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
     AS COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR THE
            PERIOD FROM AUGUST 9, 2023 THROUGH AUGUST 31, 2023

          Pursuant to sections 330 and 331 of Title 11 of the United States Code (the “Bankruptcy

Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the “Bankruptcy

Rules”) and this Court’s Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals, entered on September 14, 2023 (the “Administrative

Order”), Pachulski Stang Ziehl & Jones LLP (“PSZJ” or the “Firm”), counsel for the debtors and

debtors in possession (“Debtors”), hereby submits its First Monthly Application for Compensation

and for Reimbursement of Expenses for the Period from August 9, 2023 through August 31, 2023

(the “Application”).

          By this Application PSZJ seeks a monthly interim allowance of compensation in the

amount of $1,275,515.75 and actual and necessary expenses in the amount of $10,533.41 for a

total allowance of $1,286,049.16 and payment of $1,020,412.600 (80% of the allowed fees) and




1
     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
     principal place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street,
     Suite 100, Emeryville, CA 94608.



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reimbursement of $10,533.41 (100% of the allowed expenses) for a total payment of

$1,030,946.01 for the period August 1, 2023 through August 31, 2023 (the “Fee Period”):

                                            Background

        1.       On August 9 and August 21, 2023 (as applicable, the “Petition Date”), each Debtor

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11

Cases”). The Debtors are operating their businesses and managing their properties as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        2.       On August 27, 2023, the Office of the United States Trustee (the “U.S. Trustee”)

appointed the Official Committee of Unsecured Creditors (the “Committee”), consisting of the

following seven members:        (i) Cosan U.S. Inc., (ii) U.S. Bank Trust Company, National

Association as Trustee, (iii) Sartorius Stedim North America, Inc., (iv) Hearst Magazine Media,

Inc., (v) Wiley Companies, (vi) Park Wynwood, LLC, and (vii) Allog Participacoes, Ltda. See

Docket No. 152.

        3.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

        4.       On September 14, 2023, the Court entered the Administrative Order, authorizing

estate professionals (“Professionals”) to submit applications for interim compensation and

reimbursement for expenses, pursuant to the procedures specified therein. The Administrative

Order provides, among other things, that a Professional may submit monthly fee applications. If

no objections are made within twenty-one (21) days after service of the monthly fee application

the Debtors are authorized to pay the Professional eighty percent (80%) of the requested fees and

one hundred percent (100%) of the requested expenses. Beginning with the period ending March

31, 2023, and at three-month intervals or such other intervals convenient to the Court, each of the



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Professionals may file and serve an interim application for allowance of the amounts sought in its

monthly fee applications for that period. All fees and expenses paid are on an interim basis until

final allowance by the Court.

        5.       The retention of PSZJ, as counsel for the Debtors, was approved effective as of

August 9, 2023 by this Court’s Order Authorizing the Employment and Retention of Pachulski

Stang Ziehl & Jones LLP as Counsel for the Debtors Effective as of the Petition Date, entered on

September 11, 2023 (the “Retention Order”). The Retention Order authorized PSZJ to be

compensated on an hourly basis and to be reimbursed for actual and necessary out-of-pocket

expenses.

                      PSZJ’s APPLICATION FOR COMPENSATION AND
                           FOR REIMBURSEMENT OF EXPENSES

                                Compensation Paid and Its Source

        6.       All services for which PSZJ requests compensation were performed for or on behalf

of the Debtors, and not on behalf of any committee, creditor or other person.

        7.       PSZJ, and any partner, of counsel, or associate thereof, have received no payment

and no promises for payment from any source other than from the Debtors for services rendered

or to be rendered in any capacity whatsoever in connection with the matters covered by this

Application. There is no agreement or understanding between PSZJ and any other person other

than among the partners, of counsel, or associates of PSZJ for the sharing of compensation to be

received for services rendered in these cases. PSZJ has received payments from the Debtors during

the year prior to the Petition Date in the amount of $1,874,692.00 in connection with the

preparation of initial documents and its prepetition representation of the Debtors. PSZJ has applied

all prepetition payments to all outstanding prepetition fees and expenses.




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        8.       The professional services and related expenses for which PSZJ requests interim

allowance of compensation and reimbursement of expenses were rendered and incurred in

connection with these cases in the discharge of PSZJ’s professional responsibilities as attorneys

for the Debtors in these chapter 11 cases. PSZJ’s services have been necessary and beneficial to

the Debtors and their estates, creditors and other parties in interest.

                                           Fee Statements

        9.       The invoice for the Fee Period is attached hereto as Exhibit A. This statement

contains daily time logs describing the time spent by each attorney and paraprofessional during

the Interim Period. To the best of PSZJ’s knowledge, this Application complies with sections 330

and 331 of the Bankruptcy Code, the Bankruptcy Rules and the Administrative Order. PSZJ’s

time reports are initially handwritten or directly entered in the billing system, by the attorney or

paralegal performing the described services. The time reports are organized on a daily basis. PSZJ

is particularly sensitive to issues of “lumping” and, unless time was spent in one time frame on a

variety of different matters for a particular client, separate time entries are set forth in the time

reports. PSZJ’s charges for its professional services are based upon the time, nature, extent and

value of such services and the cost of comparable services other than in a case under the

Bankruptcy Code. To the extent it is feasible, PSZJ professionals attempt to work during travel.

                                  Actual and Necessary Expenses

        10.      A summary of the actual and necessary expenses incurred by PSZJ for the Fee

Period is attached hereto as part of Exhibit A. PSZJ customarily charges $0.10 per page for

photocopying expenses related to cases, such as this, arising in Delaware. PSZJ’s photocopying

machines automatically record the number of copies made when the person that is doing the




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copying enters the client’s account number into a device attached to the photocopier. PSZJ

summarizes each client’s photocopying charges on a daily basis.

        11.      PSZJ charges $0.25 per page for out-going facsimile transmissions. There is no

additional charge for long distance telephone calls on faxes. The charge for outgoing facsimile

transmissions reflects PSZJ’s calculation of the actual costs incurred by PSZJ for the machines,

supplies and extra labor expenses associated with sending telecopies and is reasonable in relation

to the amount charged by outside vendors who provide similar services. PSZJ does not charge the

Debtor for the receipt of faxes in this case.

        12.      With respect to providers of on-line legal research services (e.g., LEXIS and

WESTLAW), PSZJ charges the standard usage rates these providers charge for computerized legal

research. PSZJ bills its clients the actual amounts charged by such services, with no premium.

Any volume discount received by PSZJ is passed on to the client.

        13.      PSZJ believes the foregoing rates are the market rates that the majority of law firms

charge clients for such services. In addition, PSZJ believes that such charges are in accordance

with the American Bar Association’s (“ABA”) guidelines, as set forth in the ABA’s Statement of

Principles, dated January 12, 1995, regarding billing for disbursements and other charges.

                                  Summary of Services Rendered

        14.      The names of the timekeepers of PSZJ who have rendered professional services in

this case during the Interim Period are set forth in the attached Exhibit A. PSZJ, by and through

such persons, has prepared and assisted in the preparation of various motions and orders submitted

to the Court for consideration, advised the Debtors on a regular basis with respect to various

matters in connection with the Debtor’s case, and performed all necessary professional services




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which are described and narrated in detail below. PSZJ’s efforts have been extensive due to the

size and complexity of the Debtors’ cases.

                                Summary of Services by Project

        15.      The services rendered by PSZJ during the Fee Period can be grouped into the

categories set forth below. PSZJ attempted to place the services provided in the category that best

relates to such services. However, because certain services may relate to one or more categories,

services pertaining to one category may in fact be included in another category. These services

performed, by categories, are generally described below, with a more detailed identification of the

actual services provided set forth on the attached Exhibit A. Exhibit A identifies the attorneys

and paraprofessionals who rendered services relating to each category, along with the number of

hours for each individual and the total compensation sought for each category.

A.      Asset Analysis and Recovery

        16.      During the Fee Period, the Firm, among other things, reviewed and analyzed

complex intellectual property issues.

                               Fees: $22,324.00         Hours: 17.60

B.      Asset Disposition

        17.      During the Fee Period, the Firm, among other things, (i) prepared a motion to

approve bid procedures and corresponding form asset purchase agreement and bid procedures; (ii)

assisted; (iii) prepared a motion for approval of a de minimis asset procedures motion; (iv)

addressed sale related issues; and (v) participated in sale update calls with the Debtors’

professionals.

                               Fees: $73,972.50         Hours: 61.70




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C.      Bankruptcy Litigation

        18.      During the Fee Period, the Firm, among other things, (i) reviewed and analyzed

potential litigation and investigation issues; (ii) reviewed, analyzed and prepared responses to

discovery requests propounded by the Committee; (iii) participated in calls with estate

professionals regarding discovery requests and litigation issues; and (iv) maintained a virtual data

room.

                                Fees: $40,599.00        Hours: 35.60

D.      Business Operations

        19.      During the Fee Period, the Firm, among other things, (i) addressed intercompany

operational issues; (ii) addressed press and communication issues with the Debtors; (iii)

participated in calls with the Debtors’ professionals regarding critical vendor issues; (iv) prepared

critical vendor agreements; (v) conferred with estate professionals regarding business plan

modeling; and (vi) participated in working group strategy calls.

                                Fees: $36,630.50        Hours: 32.70

E.      Case Administration

        20.      During the Fee Period, the Firm, among other things, (i) reviewed correspondence

and pleadings and forwarded them to appropriate parties; (ii) maintained a calendar of critical dates

and deadlines, (iii) discussed, reviewed, and followed up on various open case issues, (iv) and

participated in weekly case strategy calls.

                                Fees: $78,097.00        Hours: 66.40

F.      Claims Administration and Objections

        21.      During the Fee Period, the Firm, among other things, analyzed a potential antitrust

claim, and prepared a motion to set claims bar dates.



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                                 Fees: $4,309.00         Hours: 4.70

G.      Corporate Governance

        22.      During the Fee Period, the Firm, among other things, (i) prepared for and attended

regular board meetings; (ii) conferred with counsel regarding board issues; (iii) reviewed and

analyzed board minutes; (iv) prepared for and attended regular restructuring committee meetings;

and (v) addressed governance issues.

                                Fees: $51,960.50         Hours: 33.90

H.      Employee Benefits/Pensions and KEIP/KERP

        23.      During the Fee Period, the Firm, among other things, (i) addressed management

severance issues; (ii) prepared for and obtained Court approval of a KEIP/KERP motion; and (iii)

prepared correspondence to KEIP/KERP participants.

                                Fees: $34,353.50         Hours: 26.10

I.      Contract and Lease Matters

        24.      During the Fee Period, the Firm, among other things, (i) analyzed and addressed

issues in connection with DSM Firmenich and Givaudan contracts and agreements; (ii) reviewed,

analyzed and performed research in connection with IP escrow agreements; (iii) analyzed the

debtors’ various contracts and leases for potential rejection; (iv) prepared and obtained approval

of two motions to reject various contracts and/or leases; (v) conferred with the Debtors and counsel

regarding Givaudan strategy; (vi) conferred with Debtors’ professionals and began contract review

in connection with collating schedules and cure amounts; and (vii) reviewed and analyzed

proposed Givaudan term sheets.

                               Fees: $264,603.50        Hours: 206.30




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J.      First/Second Day Matters

        25.      During the Fee Period, the Firm, among other things, (i) conferred with the Debtors’

professionals regarding case filing status updates; (ii) prepared and obtained approval on first day

motions; (iii) prepared agendas and notices of hearing on first and second day motions; (iv)

prepared hearing binders for Chambers on first and second day hearings; and (v) prepared for and

attended the first and second day hearings.

                                Fees: $134,918.50       Hours: 123.80

K.      Financial Filings

        26.      During the Fee Period, the Firm, among other things, (i) addressing status of open

issues with the U.S. Trustee; (ii) participating in call with the Debtors’ professionals regarding the

preparation of the schedules of assets and liabilities and statements of financial affairs, and assisted

in the preparations thereof; (iii) assisted the Debtors with the preparation of documents requested

by the U.S. Trustee in connection with the Initial Debtor Interview; (iv) prepared for and attended

the Initial Debtor Interview; and (v) conferred with the Debtors’ professionals regarding U.S.

Trustee reporting requirements.

                                 Fees: $7,677.00         Hours: 7.40

L.      Financing/Cash Collateral/Cash Management

        27.      During the Fee Period, the Firm, among other things,(i) prepared a motion for and

obtained Court approval of a motion to continue the Debtors’ cash management system; (ii)

addressed budget issues; (iii) addressed cash management issues; (iv) prepared for and obtained

interim approval of post-petition Debtor in Possession Financing (“DIP Financing”) ; (v) reviewed,

analyzed and prepared discovery responses in connection with Lavvan’s objection to DIP

Financing; and (vi) addressed funding issues pending final approval of the DIP Financing.



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                                Fees: $174,338.00       Hours: 116.80

M.      General Creditors’ Committee

        28.      During the Fee Period, the Firm, among other things, participated in calls with the

Committee and the ad hoc noteholders regarding overall case issues and work streams.

                                Fees: $15,977.00         Hours: 12.80

N.      Hearings

        29.      During the Fee Period, the Firm, among other things, prepared for and attended the

various hearings held during the Fee Period.

                                Fees: $33,001.00         Hours: 23.30

O.      Insurance Issues

        30.      During the Fee Period, the Firm, among other things, addressed various insurance

inquiries.

                                 Fees: $3,603.50         Hours: 3.30

P.      Litigation (Non-Bankruptcy)

        31.      During the Fee Period, the Firm, among other things, prepared and coordinated the

filing of notices of bankruptcy action in various state court litigation matters.

                                 Fees: $4,562.50         Hours: 4.50

Q.      Meetings of and Communications with Creditors

        32.      During the Fee Period, the Firm, among other things, prepared for and attended the

341(a) meeting of creditors.

                                 Fees: $3,022.00         Hours: 3.00




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R.      Non-Working Travel

        33.      During the Fee Period, the Firm the Firm incurred time while traveling on case

matters. Non-working travel time is billed at one-half the normal hourly rate.

                                     Fees: $8,121.75      Hours: 9.30

S.      Plan and Disclosure Statement

        34.      During the Fee Period, the Firm, among other things, (i) reviewed and analyzed

plan issues; (ii) reviewed and revised proposed term sheets; and (iii) conferred with estate

professionals regarding plan issues.

                                   Fees: $154,356.00     Hours: 105.70

T.      Other Professional Compensation

                 35.         During the Fee Period, the Firm, among other things, prepared for and

obtained Court approval of a motion to pay bondholder fees.

                                    Fees: $34,920.50      Hours: 31.20

U.      Other Professional Retention

        36.      During the Fee Period, the Firm, among other things, (i) prepared for and obtained

Court approval of a motion to employ ordinary course professionals; and (ii) assisted the Debtors’

professionals with the preparation and filing of their disclosure declarations in connection with

being employed as ordinary course professionals.

                                    Fees: $80,168.50      Hours: 71.80

V.      PSZJ Retention

        37.      During the Fee Period, the Firm, among other things, performed conflicts check,

and prepared an application to approve the Firm’s retention as counsel for the Debtors, and

appropriate disclosures.



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                               Fees: $8,988.50        Hours: 7.50

W.      Stay Litigation

        38.      During the Fee Period, the Firm, among other things, reviewed and analyzed

various stay relief issues and prepared correspondence in connection therewith.

                               Fees: $5,011.50        Hours: 5.30

                                      Valuation of Services

        39.      Attorneys and paraprofessionals of PSZJ expended a total 1,010.70 hours in

connection with their representation of the Debtors during the Fee Period, as follows:


                                 Position of the         Hourly
                                                                        Total
  Name of Professional        Applicant, Year of      Billing Rate                     Total
                                                                        Hours
      Individual             Obtaining License to      (including                   Compensation
                                                                        Billed
                                    Practice            Changes)
 Richard M. Pachulski        Partner, 1979             $1,895.00      111.30        $210,913.50
 Alan J. Kornfeld            Partner, 1987             $1,675.00       11.80        $ 19,765.00
 David J. Barton             Partner, 1981             $1,645.00        2.30        $ 3,783.50
 Debra I. Grassgreen         Partner, 1992             $1,550.00      115.40        $178,870.00
 Henry C. Kevane             Partner, 1986             $1,550.00       94.30        $146,165.00
 Richard J. Gruber           Counsel, 1982             $1,525.00       23.80        $ 36,295.00
 Judith Elkin                Counsel, 1982             $1,450.00       34.30        $ 49,735.00
 Maxim B. Litvak             Partner, 1997             $1,445.00       36.60        $ 52,887.00
 Malhar S. Pagay             Partner, 1997             $1,295.00       10.70        $ 13,856.50
 James E. O'Neill            Partner, 1985             $1,275.00      135.50        $172,762.50
 Jonathan J. Kim             Counsel, 1996             $1,175.00       26.70        $ 31,372.50
 Victoria A. Newmark         Counsel, 1996             $1,175.00       13.50        $ 15,862.50
 Robert M. Saunders          Counsel, 1984             $1,095.00        8.90        $ 9,745.50
 Tavi C. Flanagan            Counsel, 1993             $1,075.00        3.50        $ 3,762.50
 Gina F. Brandt              Counsel, 1976             $1,050.00        0.60        $    630.00
 Jason H. Rosell             Partner, 2010               $995.00      134.30        $133,628.50
 Gillian N. Brown            Counsel, 1999               $975.00       13.40        $ 13,065.00
 Richard M. Pachulski        Partner, 1979               $947.50        5.30        $ 5,021.75
 Steven W. Golden            Partner, 2015               $895.00      126.80        $113,486.00
 Debra I. Grassgreen         Partner, 1992               $775.00        4.00        $ 3,100.00
 Edward A. Corma             Associate, 2018             $725.00       43.60        $ 31,610.00
 Leslie A. Forrester         Library                     $595.00        2.70        $ 1,606.50

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                                 Position of the          Hourly
                                                                        Total
  Name of Professional        Applicant, Year of       Billing Rate                    Total
                                                                        Hours
      Individual             Obtaining License to       (including                  Compensation
                                                                        Billed
                                    Practice             Changes)
 Patricia J. Jeffries        Paralegal                    $545.00       40.80        $ 22,236.00
 Ian D. Densmore             Paralegal                    $545.00        6.60        $ 3,597.00
 Beth D. Dassa               Paralegal                    $545.00        0.20         $   109.00
 Cheryl A. Knotts            Paralegal                    $495.00        0.50         $ 247.50
 Andrea R. Paul              Case Mgmt. Assistant          425.00        3.10        $ 1,317.50
 Charles J. Bouzoukis        Case Mgmt. Assistant         $425.00         .20        $     85.00

                                    Grand Total: $1,275,515.75
                                    Total Hours:      1,010.70
                                    Blended Rate:    $1,262.01


        40.      The nature of work performed by these persons is fully set forth in Exhibit A

attached hereto. These are PSZJ’s normal hourly rates for work of this character. The reasonable

value of the services rendered by PSZJ for the Debtors during the Fee Period is $1,275,515.75.

        41.      In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

it is respectfully submitted that the amount requested by PSZJ is fair and reasonable given (a) the

complexity of the case, (b) the time expended, (c) the nature and extent of the services rendered,

(d) the value of such services, and (e) the costs of comparable services other than in a case under

the Bankruptcy Code. Moreover, PSZJ has reviewed the requirements of Del. Bankr. LR 2016-2

and the Administrative Order signed on or about September 14, 2023 and believes that this

Application complies with such Rule and Order.




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        WHEREFORE, PSZJ respectfully requests that the Court enter an order providing that, for

the period of August 9, 2023 through August 31, 2023, an interim allowance be made to PSZJ for

compensation in the amount of $1,275,515.75 and actual and necessary expenses in the amount of

$10,533.41 for a total allowance of $1,286,049.16 and payment of $1,020,412.600 (80% of the

allowed fees) and reimbursement of $10,533.41 (100% of the allowed expenses) for a total

payment of $1,030,946.01; and for such other and further relief as this Court deems proper.

 Dated: November 1, 2023                        PACHULSKI STANG ZIEHL & JONES LLP

                                                /s/ James E. O’Neill
                                                Richard M. Pachulski (admitted pro hac vice)
                                                Debra I. Grassgreen (admitted pro hac vice)
                                                James E. O’Neill (DE Bar No. 4042)
                                                Jason H. Rosell (admitted pro hac vice)
                                                Steven W. Golden (DE Bar No. 6807)
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                                                P.O. Box 8705
                                                Wilmington, DE 19899-8705 (Courier 19801)
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                                                Facsimile: (302) 652-4400
                                                Email: rpachulski@pszjlaw.com
                                                        dgrassgreen@pszjlaw.com
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                                                        jrosell@pszjlaw.com
                                                        sgolden@pszjlaw.com

                                                Counsel to the Debtors and Debtors in Possession




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                                          DECLARATION


STATE OF DELAWARE    :
                     :
COUNTY OF NEW CASTLE :

        James E. O’Neill, after being duly sworn according to law, deposes and says:

        a)       I am a partner with the applicant law firm Pachulski Stang Ziehl & Jones LLP,

and am admitted to appear before this Court.

        b)       I am familiar with the legal services rendered by PSZJ as counsel to the

Committee.

        c)       I have reviewed the foregoing Application and the facts set forth therein are true

and correct to the best of my knowledge, information and belief. Moreover, I have reviewed

Del. Bankr. LR 2016-2, the Administrative Order signed on or about September 14, 2023 and

submit that the Application substantially complies with such rule and orders.


                                                       /s/ James E. O’Neill
                                                        James E. O’Neill




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